           Case 4:05-cr-40010-JPG                         Document 149 Filed 08/29/05                               Page 1 of 6             Page ID
                                                                    #367

QAO 245B      (Rev. 12/03) Judgment in a Criminal Case
              Sheet I




                       SOUTHERN                                   District of                                           ILLINOIS

         UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                              v.
                   DOROTHY J . AUD
                                                                        Case Number: 05-4001 0-002-JPG

                                                                        USM Number:06367-025
                                                                        Rodney Holmes
                                                                        Defendant's Attorney
THE DEFENDANT:
6pleaded guilty to count(s)          1 of the Indictment                                                                       4UG 2 9 7 ~ ,
0 pleaded nolo contendere to count(s)
   which was accepted by the court.
0 was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section
           ....                         .. .uf. .ONensc
                                   h'ature       .                                                                  ONcnsc Ended . .
                                                                                                                           .    . ..             Cnunt
.'%i
  us:c.846         :                              m                                                     .   .
                                                                                                                .   .              . .       " .:f:.,          ....

                                                                                                                               . . .. . .
                                                                                                                                      . .
                                                                                                                                                        '.i-   '.
                                                                                                                                                             . .. .
                                                                                                                                                           .....
       The defendant is sentenced as provided in pages 2 through                9          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
   The defendant has been found not guilty on count(s)
   Count(s)                                                  is   0 are dismissed on the motion of the United States.
         It is ordered that the defendant must nutij. thc United Svdtes attome) tbr this district \r ithin 30 da s ofan) .hang ofname, resjdence,
or mailing address until all fines, restitution, co\tr, anJ special assessments imposed hy thlsjudgment are
th: deiendant muit notif) the coufl and l'nicd Stato morn:) ofmateridl chmgcs in economic ilrcumstancei.
                                                                                                                        rdl)
                                                                                                                   paid. 'liorderedto pdy rest~rut~on,

                                                                         8/25/2005
                                                                         Date of lmmsitian of Judement




                                                                        J . Phil Gilbert, District Judge
                                                                         N a m e d T i t l e of Judee
               Case 4:05-cr-40010-JPG                   Document 149 Filed 08/29/05                       Page 2 of 6         Page ID
                                                                  #368

A 0 2458       (Rev. 12/03)Judgment in Criminal Case
               Sheet 2 -Imprisonment
                                                                                                        Judgment-Page   2of             9
 DEFENDANT: DOROTHY J. AUD
 CASE NUMBER: 05-40010-002-JPG


                                                               IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to he imprisoned for a
 total term of:
 262 months on Count 1




           The court makes the following recommendations to the Bureau of Prisons:




           The defendant is remanded to the custody of the United States Marshal.

           The defendant shall surrender to the United States Marshal for this district:

           0     at                                     a.m.          p.m.     on
                 as notified by the United States Marshal.

     d The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                 before 2 p.m. on

           d as notified by the United States Marshal.
                 as notified by the Probation or Pretrial Services Office.


                                                                     RETURN
 1 have executed this judgment as follows:




           Defendant delivered on                                                           to

 a                                                     , with a certified copy of this judgment.


                                                                                                      UNITED STATES MARSHAL


                                                                             BY
                                                                                                   DEPUTY UMTED STATES MARSHAL
              Case 4:05-cr-40010-JPG                    Document 149 Filed 08/29/05                         Page 3 of 6          Page ID
                                                                  #369


A 0 245B      (Rev. 1203)Judgment in a Criminal Case
              Sheet 3 -Supervised Release
                                                                                                           Judgment-Page            of          Y
 DEFENDANT: DOROTHY J. AUD
 CASE NUMBER: 05-40010-002-JPG
                                                         SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term o f :
  5 years on Count 1.



      The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Pnsons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
 thereafter, as determmed by the court.
      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
      future substance abuse. (Check, if applicable.)
      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
 @ The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
      The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
      student, as directed by the probation officer. (Check, if applicable.)
      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this 'udgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule ofl~aymentssheet of this judgment.
      The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                          STANDARD CONDITIONS OF SUPERVISION
           the defendant shall not leave the judicial district without the permission of the court or probation officer;
           the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
           each month;
           the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
           the defendant shall support his or her dependents and meet other family responsibilities;
           the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
           the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
           the defendant shall refrain from excessiye use of alcohol and shall not purchase, possess, use, distribute, or admjnister any
           controlled substance or any paraphemaha related to any controlled substances, except as prescrtbed by a physman;
           the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
           the dekndanl shall nut assoiiatc irilh an) pcrsons en agcd i n criminal a h \ it) md shall nut aswciatc w~than! persm convicted o i a
           ielon), unle,, granted permision to JIBsoh? thc protation oiticcr:
           the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed in plain view of the probation officer;
           the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement ofticer;
           the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and
           as Jireitr.d hy the robation uificer, thc dcicndant shall n(~tif\third parlicsoirisks that ma? hc occasioned hy the deiendant's criminal
           record or personar histor). or ;hmcmstics and shall penhit the prohst~onofricer 1 3 make such notification\ and to confirm [he
           del'endant s cumpliancc ir ~ t such
                                          h    notiticxion requrcment.
           Case 4:05-cr-40010-JPG                     Document 149 Filed 08/29/05            Page 4 of 6        Page ID
                                                                #370

A 0 2458    (Rev. 121033)ludment in a Criminal Case
            Sheet 3C - ~u&rvisedRelease
                                                                                            Judgment-Page   4 of            9
DEFENDANT: DOROTHY J. AUD
CASE NUMBER: 05-40010-002-JPG

                                         SPECIAL CONDITIONS OF SUPERVISION
    The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
  commencement of the term of supervised release. The defendant shall pay the fine in installments of $10.00 or ten
  percent of her net monthly income, whichever is greater.

    The defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office
  with access to any requested financial information. The defendant is advised that the probation office may share financial
  information with the Financial Litigation Unit.

    The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, andlor any other
  anticipated or unexpected financial gains to the outstanding court-ordered financial obligation. The defendant shall
  immediately notify the probation officer of the receipt of any indicated monies.

    The defendant shall submit her person, residence, real property, place of business, computer, or vehicle to a searach.
  conducted by the United States Probation Officers at a reasonable time and in a reasonable manner, based upon
  reasonable suspiciion of contraband or evidence of a violation of a condition of supervision. Failure to submit to a search
  may be grounds for revocation. The defendant shall inform any other residents that the premises may be subject to a
  search pursuant to this condition.

   The defendant shall participate as directed and approved by the probation officer in treatment for narcotic addiction, drug
 dependence, or alcohol dependence, which includes urinalysis or other drug detection measures and which may require
 residence andlor participation in a residential treatment facility. Any participation will require complete abstinence from all
 alcoholic beverages. The defendant shall pay for the costs associated with substance abuse counseling andlor testing
 based on a co-pay slidng fee scale approved by the United States Probation Office. Co-pay shall never exceed the total
 costs of counseling.
           Case 4:05-cr-40010-JPG                     Document 149 Filed 08/29/05                           Page 5 of 6          Page ID
                                                                #371
A 0 245B   (Rev. IZlO3) Judgment in a Criminal Case
           Sheet 5 -Crirntnal Moneta!y Penalties
                                                                                                      Judgment-   Page   5 of 9
 DEFENDANT: DOROTHY J. AUD
 CASE NUMBER: 05-40010-002-JPG
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                       Assessment                                      Fine                                  Restitution
 TOTALS            $ 100.00                                          $200.00                              $ 0.00



     The determination of restitution is deferred until -, An Amended Judgment in a Criminal Case ( A 0 245C) will be entered

     after such determination.

     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each pa ee shall receive an approximately ro ortioned ayment, unless specified otherwise jn
      the prlorlty order or percentage payment columnxelow. However, pursuant to 18 Js.8. 5 366,)4!(    all nonfederal vlctuns must be paid
      before the United States is pald.

 Name of Pavee                                                           Total*               Restitution Ordered        Prioritv o r Percentaee




 TOTALS                               $                      0.00            $                       0.00


       Restitution amount ordered pursuant to plea agreement $

       The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 8 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).

 d The court determined that the defendant does not have the ability to pay interest and it is ordered that:
      6 the interest requirement is waived for the             fine          restitution.
           the interest requirement for the           fine          restitution is modified as follows:


 * Findings for the total amount of losses are re uired under Chapters 109A, 110,l IOA, and 113A of Title 18 for offenses committed on or atkt
 September 13, 1994, but before April 23, 199%.
            Case 4:05-cr-40010-JPG                      Document 149 Filed 08/29/05                             Page 6 of 6            Page ID
                                                                  #372

A 0 2458    (Rev. 1203)Judgment in a Criminal Case
            Sheet 6 -Schedule of Payments
                                                                                                              Judgment-Page     1of                 9
DEFENDANT: DOROTHY J. AUD
C A S E NUMBER: 05-40010-002-JPG

                                                      SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

 A    @f Lump sum payment of $                                  due immediately, balance due

                  not later than                                     ,Or
                  in accordance          q C,        [7 D,      [7     E, or         F below; or
 B          Payment to begin immediately (may be combined with                 OC,           D, or        F below); or

 C          Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                       over aperiod of
                         (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

 D          Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                         (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

 E          Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F    i
      jSpecial instructions regarding the payment of criminal monetary penalties:
             While on supelvised release, the defendant shall make monthly payments in the amount of $10.00 or ten percent
             of his net monthly income, whichever is greater.




 Unless the court has express1 ordered otherwise, if this judgment imposes imprisonment, a ment ofcriminal monetary penalties is due duri
 imprisoq?eF All c r ~ m i n a ~ m o n penalties,
                                          et~        except those payments made througi: Xe Federal Bureau of Pnsons' Inmate ~ i n a n c %
 Respons~b~llty Program, are made t o t e clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



      Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




      The defendant shall pay the cost of prosecution.

 [7   The defendant shall pay the following court cost(s):

 [7   The defendant shall forfeit the defendant's interest in the following property to the United States:




 11' 1) ?Icn!s shall he applied in!hc fol!oyng order. (I{+scssmcnt, ( 2 ) rc.stilulit!n principal, ( 3 ) rcstjtutim interest, (4) line principal,
 ( 5 ) tlne interest, ( 6 )communlb rcstltuuon, (71 pen3 tlcs, 2nd (8) costs, ~nclud~ng  cost of prosecution and court costs.
